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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

       UNITED STATES OF AMERICA,

                      Plaintiff,

       v.                                            Case No. 8:05-cr-420-T-30TBM

       SERGIO PANTOJA,

                      Defendant.
                                              /

                                               ORDER

                      THIS CAUSE is before the court on the Motion to Appear Pro Hac Vice

       (Doc. 106) filed by Bruce Maloy, Esq. and the United States’ Motion for a Hearing

       Regarding Potential Conflict of Interest (Doc. 107). A hearing on the motions was

       conducted March 9, 2006.

                      For a second time, Mr. Maloy seeks to appear as counsel for Mr. Pantoja.1

       In response, the government has filed a motion requesting that the court determine the

       existence of any potential conflict in counsel’s representation of Mr. Pantoja and if

       necessary, conduct a hearing pursuant to United States v. Garcia, 517 U.S. 272 (5th

       Cir.1975). In essence, the government proffers four areas of potential evidence at the

       trial of this cause which raise concerns over the propriety of Mr. Maloy representing Mr.

       Pantoja. Each of those areas of potential evidence has been thoroughly addressed, and

       while it appears that two of the areas of potential evidence do raise concerns with Mr.



       1
        Counsel agreed to withdraw his original motion to appear pro hac vice at a hearing on
December 15, 2005, so that the matter might proceed forward to arraignment and counsel could
discuss the government’s concerns with his appearance in this cause. Patrick Doherty, Esq., was
appointed to represent Mr. Pantoja under the Criminal Justice Act. Counsel have discussed the
government’s concerns and Mr. Maloy believes it appropriate that he represent Mr. Pantoja, whom
he has represented for over twenty years.
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      Maloy’s representation, there is no actual conflict demonstrated, nor is there evidence of

      any impropriety on the part of Mr. Maloy, which might warrant the court in overruling

      Mr. Pantoja’s request that he be represented by Mr. Maloy and the denial of his motion to

      appear pro hac vice. Consequently, the court has conducted a Garcia hearing advising

      Mr. Pantoja of the potential harm to his defense that could arise from representation by

      Mr. Maloy. Upon such inquiry, the court is satisfied with the competence of Mr. Pantoja,

      his understanding of the potential harm to his case should Mr. Maloy be permitted to

      represent him, and the significance of a waiver of such conflicts. Upon such inquiry, I

      find that Mr. Pantoja knowingly, intelligently, and voluntarily waives is right to conflict

      free representation and the right to hereafter protest in this court or on appeal any harm or

      prejudice which may arise by reason of Mr. Maloy’s representation.

                     Accordingly, Mr. Maloy’s Motion to Appear Pro Hac Vice (Doc. 106) is

      GRANTED. Mr. Maloy shall promptly file a written designation and consent to act on

      the part of a member of the Middle District bar in accordance with the provisions of

      Local Rule 2.02. Mr. Doherty is relieved of further responsibility for Mr. Pantoja’s

      defense apart from assuring that the discovery in his possession is made available to Mr.

      Maloy.

                     Done and Ordered in Tampa, Florida, this 10th day of March 2006.




      Copies furnished to:
      Stephen Muldrow, Assistant United States Attorney
      Bruce Maloy, Counsel for Defendant
      Pat Doherty


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